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Donell l.. Tillrnan, individually and on behalf ol`
all others similarly situated

Plaintiff, CASE NO. 2:16~cv-{]0313-UA-CM

V.
Ally Financial Inc.,

Defendant.

 

ALLY FlNANClAL INC.’S OPPOSITION TO PLAINTIFF’S MO'I`I()N FOR CLASS
CERTIF`ICATION

(_This opposition and several documents filed in support thereof have been
electronically filed in redacted form pending the Court’s ruling on Ally’s Unopposed Motion
to Seal. Ally has also filed a motion seeking leave to file up to 40 pages for its opposition
briel`(Doc. 12?). lt"the Court denies Ally’s request, Ally respectfully requests up to five

days to submit a shortened brief`.)

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I. INTRODUCTION

Plaintiff’s corrected Motion for Class Certification (Doc. ll9) (“Certification
Motion”) asks the Court to certify vague, unpleaded, and unascertainable classes that the
class representative, Donell L. Tillman (“Plaintil`f”), lacks standing to represent. Even if the
classes were properly defined, pleaded, and represented (which they are not), at trial, the
circumstances surrounding each call to each class member would need to be examined-
including the meaning behind the undefined terms “do not call” and “wrong number”
appearing in Ally’s records_on a file by file (indeed, call by call) basis, to determine which
calls, if any, violated the TCPA and injured the would-be class member. Individualized
issues of proof swann what few common issues there may be between class members.

This is hardly a surprising result. Despite Plaintif`f’ s misdirected attempt to a create a

contrary impression, the rule is that multi-source1 TCPA cases are not certifiable due to a
lack of commonality and the predominance of individual issues on the issue of consent.
Gene & Gene L.L.C. v. BioPay L.L.C., 541 F.3d 318, 326-29 (Sth Cir. 2008). In such cases,
certification must inevitably be denied since consent is necessarily an individualized issue.
See Shamblin v.Obama for Am., No. 13-2428, 2015 WL 1909765, at *7 (M.D. Fla. Apr. 27,
2015) (“[T]here can never be common answers to the question[] of whether... the subscriber
consented to be called... [t]here is no ‘classwide’ proof on these outcome-determinative

issues.”). Indeed, it has twice been squarely held that TCPA class cases brought in the debt

 

1 'I`hat is, cases_such as this one_where the phone numbers come from many different sources, some
consented and some potentially non-consented. See Selby v. LVNV Funding, LLC, No. 13-cv-Ol383-
BAS(BI..M), 2016 U.S. Dist. LEXIS 83940, at *34-35 (S.D. Cal. Junc 22, 2016) (TCPA cases not certifiable
where there are multiple sources of phone numbers).

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collection context cannot be certified for that very reason. See Stein v. Monterey Fin. Sews.,
No. 2:13-cv-01336-AKK, 2017 U.S. Dist. LEXIS 12707, at *16 (N.D. Ala. Jan. 31, 2017);
Selby, 2016 U.S. Dist. LEXIS 83940, at *34-35.

Plaintif`f’s evidence-what little of it there is_highlights these issues. The policy he
attaches to the Certification Motion plainly demonstrates that Ally’s agents stop calling when
a third-party reports a “wrong number” was called. But, the policy also demonstrates that not
every “wrong number” report from a call recipient will be reliable. Some will be erroneous
reports. Agents are tasked with sifting out who is who by asking a series of questions
Plainly, therefore, identifying who among those reporting a “wrong number” are, in fact,
receiving a call intended for someone else requires an individualized factual showing. See,
e.g., Davis v. AT&T Corp., No. 15cv2342-DMS (DHB), 2017 U.S. Dist. LEXIS 46611, at
*13-16 (S.D. Cal. Mar. 28, 2017) (denying class certification based upon “wrong number”
notations because not all “wrong number” reports mean a number has changed hands).

The “Do Not Call” component is worse yet. Plaintiff introduces no evidence
regarding Ally’s policies for handling “do not call” requests at all. Further, revocation
classes_which turn on fact-specific requests for calls to stop under varying circumstances_
are commonly struck at the pleading stage as they are patently uncertifiable. See, e.g., Cholly
v. Uptain Grp., Inc., No. 15 C 5030, 2017 U.S. Dist. LEXIS 14449, at *ll (N.D. lll. Feb. l,
2017) (striking revocation class because “individual inquiries necessary to determine class
membership will ‘inevitably predominate‘ over any common questions of fact”).

Although the Certification Motion must be denied for myriad additional reasons as

well-the lack of an administratively feasible way to identify class members, a large

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percentage of class members that have waived their right to participate in the class, a class
representative who is atypical in the extreme-the lack of commonality really should be the
beginning and end of the analysis; No amount of further discovery could change this result.
As such, the Certification Motion must be denied.
Il. ALLY’S TCPA COMPLIANCE EFFORTS

Plaintif`f"s Certification Motion is predicated on a central false premise_that Ally has
a “common practice of using prohibited technology to place debt collection robocalls to
cellular telephone numbers even after noting in its own records that the people using those
numbers did not consent to be called.” Certification Motion, p. 14. Ally will demonstrate
that Plaintif`f’s assertion is patently incorrect In reality, no such “common practice” exists
and Ally’s policies are designed to assure TCPA compliance
A. Ally Obtains Consent Before Calling Customers Using Regulated Technology

Ally’s TCPA policies are simple and effective. Before Ally leverages any automated
dialing systems to attempt a call to a customer it first assures that it has that customer’s
express consent to call. Declaration of Diane Accurso (“Accurso Dec.”), 1111 7-17. Consent is
most often obtained at the time of application Ally’s application materials request that
customers provide their phone numbers and the vast majority of customers do so. Id., 1| 8.
These applications contain cell phone consent disclosures, as do most of the credit
agreements Ally purchases Ia'.; Declaration of Sandra Hampton (“Hampton Dec.” , 1111 3-5.
For instance, the relevant application underlying Ally’s calls in this case provides:

By providing your cell phone number on this application you are consenting

to receive servicing and collection calls on your cell phone using an auto
dialer or a prerecorded message.

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Accurso Dec., 11 8.

In setting up an account, Ally’s agents or system review each application to assure
that a consent disclosure exists within the agreement Id., 11 ll-12. If so, the phone number
provided on the application is entered in Ally’s CARS system (Ally’s customer account
management system), noted as “C” to permit the use of automated technology to contact the
number. Id. If not, then the number is coded as a “P” and no automated calls are attempted
unless and until express consent is obtained from the customer. Id. Consent may also be
obtained when a customer provides a phone number to an Ally agent during a live contact.
Id., 11 13. In those circumstances Ally’s agents are trained to read a script asking the
customer whether Ally may contact that number using automated technology. Id. Only if
the response is a clear “yes” may the agent code the number as consented. Id., 1111 l3-l4.
And only if the number is coded as consented will Ally contact that number using automated
technology. Id., 1111 ll, 16, 17, 20, 23; Declaration of Aaron Heiner (“Heiner Dec."), 1]1| 5-6.
B. Heeding “Do Not Call” Requests

Occasionally a call recipient will advise that he or she no longer wishes to receive
calls. In that instance, agents are to update the phone number “status code” field in SHAW
(Ally’s customer collections system), which writes to CARS and changes the phone number
to suppress further dialer calls, Accurso Dec., 1| 6. In the instance of an oral “do not call”
report by a call recipient, the agent enters an “x” in the status code update field in SHAW.
Id., 1| 23. This entry automatically edits the cell phone number in the CARS system (the two
Systems “talk” to each other) to replace the first digit of the number with an “x.” Id. 'I`he

entry of an “x” code necessarily prevents any further dialing to that number_the dialer

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cannot attempt a call to a letter. Id.

Agents are also directed to update the permission code in CARS to an “N” which will
also cease further dialer calls to the number. Ally’s policy is clear this must be done
“immediately.” It states:

“CONSENT REVOKED, WITHDRAWN, OR RETRACTED

If a customer gives permission and later revokes, withdraws, or retracts

consent, immediately change the permission code to N; all calls to the

customer’s cell phone MUST cease. Id., 11 24, Ex. C, p. 6. (emphasis in
original).

Importantly, however, calls to a number previously marked as an “x” may
continue if the customer re-consents to receive calls on that number. Id., 1111 29, 34.
This is a very common occurrence. Id., 11 34; Declaration of Stephen Johnson
(“Johnson Dec.”), 11 ll; Declaration of Shada Hall (“Hall Dec.”), 11 8; Declaration of
Jordan McClure (“McClure Dec.”), 11 8.
C. Avoiding Calls to Wrong Numbers

Ally affirmatively seeks information to validate the accuracy of its phone numbers
during every phone call. Accurso Dec., fn. l. Nonetheless, calls to wrong numbers
sometimes occur as a customer’s phone may change hands without Ally’s knowledge That
is what happened with respect to the cell phone at issue in this case. Accurso Dec., 11 28.

Unf`ortunately, “wrong number” reports are not very reliable in the debt collection
context Accurso Dec., 1111 25-28. Sometimes the delinquent customer pretends to be a third
party in order to procrastinate or avoid paying sums owed. Id., 11 27; Johnson Dec., 11 3; Hall
Dec., 11 3; McClure Dec., 11 3; Declaration of Scott Goldsmith (“Goldsmith Dec.”), Ex. A,

Report of Ken Sponsler (“Sponsler Report”), 11 12. Sometimes a third party uses the phrase

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“wrong number” merely as a shorthand way of explaining that the customer is not available
at that time, although the number is perfectly valid. Accurso Dec., 11 28; Johnson Dec., 1| 3;
Hall Dec., 11 4; McClure Dec., 11 4.

Ally has developed a policy of attempting to discern whether a number is actually
invalid when a call recipient reports a “wrong number.” Specifically, as Exhibit 1 to the
Certification Motion demonstrates, Ally’s agents can treat a number as valid following a
“wrong number” report if: i) the number is correct but the customer is not available at the
number; ii) the person knows the customer and says the customer can be reached at the
number; or iii) the person can provide location information on the customer and indicates
calls may continue. See also, Johnson Dec., 11 4. In these instances, the number is not really
a “wrong number” or recycled cell phone. lnstead, the number called was the preferred
number at which the customer desired to be reached, but the customer was simply
unavailable at that time.

If`, however, the number cannot be validated, then the agent must treat the number as
invalid and assure that the number is not dialed again. Johnson Dec., 11 5; McClure Dec., 11 6;
Hall Dec., 11 6. In that instance, the agent must enter a “w” in the status code update field in
SHAW. Id. This entry automatically edits the cell phone number in the CARS system to
replace the first digit of the number with a “w.” Accurso Dec., 1111 6, 20; Heiner Dec., 1111 5-6.
The entry of a “w” code necessarily prevents any further dialing to that number-the dialer
cannot attempt a call to a letter. ld.

D. Ally’s Agents Enter Free Form Notes Even thre a Number Remains Valid

Agents are required to document the outcome of all calls in SHAW, by typing free

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form text notes into the system, regardless of whether or not a number remains valid. See,
e.g., McClure Dec., 11 5; Johnson Dec., 11 6. Indeed, the vast majority of SHAW notes will
have nothing to do with an invalid phone number. Agents are free, however, to use their own
language in entering those notes. See McClure Dec., 11 5; Hall Dec., 11 5. As such, an agent
may enter a phrase, such as “do not call” or “wrong number” in such a free form note for
myriad reasons that have nothing to do with the validity of a phone number. See.. e.g.,
Accurso Dec.,111| 26-27; 30, 32-33; Johnson Dec., 1111 5-10; Hall Dec., 11 4; McClure Dec., 11 4;
Sponsler Report,1111 ll(j), 12.

F or instance, with respect to a “do not call” notation, the agent might be notating a
request that the customer not be called at a certain time, or on certain days, or for a certain
period of time, or regarding a certain payment deficiency Johnson Dec., 11 8; Hall Dec., 1| 4;
McClure Dec., 11 4. The note may refer to a different number than the number called.
Johnson Dec., 1111 8-9; Hall Dec., 11 4; McClure Dec., 11 4. It may be a request that Ally not
call at work, or not call references, or not call a landline. Johnson Dec., 1111 8-9; Hall Dec.,11
4; McClure Dec., 11 4. Similarly, a note advising that the customer’s landline phone is a
“wrong number” would mean that the customer’s cell phone is actually the only valid method
to reach the customer.2 Johnson Dec., 11 5. Further, the phrase “wrong number” may refer to

account numbers, addresses, or any other personal identifying information that may have

been corrected by a customer during a phone call. Accurso Dec., 11 26; Johnson Dec., 11 6;

 

2 Ally’s policy is to confirm and update customer information during each call. lt is therefore common for
customers with multiple numbers to update one phone number but not the other, particularly residential land
lines that may change when a customer movcs; whereas, the cell phone number may not change. Johnson Dec.,
fn. l.

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Hall Dec., 11 4; McClure Dec., 11 4. These circumstances occur all the time. See, e.g.,
Johnson Dec., 1111 5-6; Hall Dec., 11 4; McClure Dec., 11 4; Sponsler Report, 11 ll(j).

III.CERTIFICATION MUST BE DENIED AS PLAINTIFF SEEKS TO CERTIFY AN
UNPLE_ADED AND VAGUE CLASS HE LACKS STANDING 'I`O REPRESENT

The Certification Motion never even mrd<es it out of the starting blocks. First, the

Certification Motion focuses solely on a new class and subclass that are not alleged in the

Complaint. Compare Certification Motion p. 4, and Compl., 11 39.3 On this basis alone the
Certchation Motion must be denied. See Davis, 2017 U.S. Dist. LEXIS 46611, at *4-11
(substituting one class for another at the certification stage is impermissible and grounds to
deny certification); Thompson v. State Fa)'m Fire & Cas. Co., No. 5:14-CV-32 (MTT), 2016
U.S. Dist. LEXIS 30308, at *9-10, 39-41 (M.D. Ga. Mar. 9, 2016) (sua sponte refusing to
allow subdivision of classes not contained in original complaint); Clarke v. Baptist Mem.
Healthcare Corp., 264 F.R.D. 375, 381 (W.D. Tenn. 2009) (“To accommodate a new
proposed class definition, Plaintif`fs will need to amend the complaint[.]”); Costelo v.
Ckertojf, 258 F.R.D. 600, 604-05 (C.D. Cal. 2009) (“The Court is bound to class definitions
provided and, absent an amended complaint, will not consider certification beyond it.”).4

lt is true that some courts allow a class representative to “move the ball” at the

certification stage. See Davis, 2017 U.S. Dist. LEXIS 46611, at *4-5 (noting split of

 

3 The Court should “presume[] that this redefinition refiects, in part, Plaintiff[‘s] recognition that the Class[es]
as constructed in the Complaint in fact suffer[] from some or all of the defects alleged by” Ally. See Bell v.
Cheswick Generating S!ation, Genon Power Midwesf, L.P., No. CIV.A. 12-929, 2015 WL 401443, at *5 (W.D.
Pa. Jan. 28, 2015).

4 Plaintiff’s Certification Motion falsely states that the Court has already ruled that Plaintifi` may modify his
class definitions at the class-certification stage. Certification Motion, p. 4, n. 2, citing Doc. 58. But Plaintiff is
misstating the Court’s order. The Court reserved the issue of Plaintist failsafe class definitions for the “class
certification stage," but did not opine on Plai ntiff`s ability to change his definitions See Doc. 58, pp. 12-13.

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approach among district courts). But the Court should not do so here. Ally has been
laboring under the impression that one set of class members was at issue_utilizing totally
different criteria to define the class_and now it is expected to adjust on the fly to a new class
definition. The proper course to avoid such unfairness is for Plaintiff to have first sought
leave to amend his pleadings to assert a class that the Plaintiff can actually represent-as
Ally’s counsel repeatedly urged Class Counsel to do for months. See, e.g., Doc. 104-2 (email
to Plaintiff’s counsel asking that Plaintiff “re-plead classes that Mr. Tillman is a part of
before seeking to undertake any further class discovery”). With the deadline to amend the
pleadings having long-since passed, however, the amendment ship has sailed. See Doc. 54,
p. l (Plaintiff’s deadline to amend the pleadings was November 18, 2016), p. 4 (noting
extensions of deadlines are disfavored).

Even if the new class and subclass were properly before the Court, however,
Plaintiff’s new classes are impermissibly vague. See Kelecseny v. Clzevron, U.S.A., Inc., 262
F.R.D. 660, 668 (S.D. Fla. 2009) ("[A] vague class definition portends significant
manageability problems for the court." ) (quoting Rink v. Cheminova, Inc., 203 F.R.D. 648,
660 (M.D. Fla. 2001)); see also Fisher v. Ciba Specialty Chems. Co)p., 238 F.R.D. 273, 301
(S.D. Ala. 2006) (a clear class definition is necessary so that class members know who is in
the class) (citz'ng Turner v. Mnrphy Oil USA, Inc., 234 F.R.D. 597, 611 (E.D. La. 2006)).

For instance, it appears that class membership turns on the ownership of the cell
phone numbers called. See Certification Motion, p. 4 (primary class and subclass include
“[a]ll persons in the United States to whose cellular telephone number Ally placed at least

two telephone cal|s...”). But Plaintiff does not own the cell phone number at issue (“Cell

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Phone”). See Doc.73-2, at 16:17-18; 17:1-7; 24:19-22. So Plaintiff is not a member of the

newly proposed class and cannot represent it.5 It is possible, however, that what Plaintiff
means_but does not say-is that he hopes to represent a class of persons “who received a
call on a cell phone they were using.” That definition, however, would fail for want of any
way to identify the “users” of cellular telephone numbers, as opposed to their subscribers
See Haight, 2015 U.S. Dist. LEXIS 107010, at *ll (explaining why members of a class
defined based upon the “receipt” of phone calls are necessarily unascertainable). The
vagueness of the definition, however, thwarts a proper analysis of` the Rule 23 factors.

The remainder of the definition is also problematic. For instance, the phrase “where
Ally noted the number as Wrong Number or Do Not Call in its records” is subject to at least
two readings. One possibility is that the class turns on numbers “noted” as a “wrong
number” or “do not call” when a “w” or “x” is entered by an Ally agent or vendor in CARS
pertaining to that number. That would be consistent with Ally’s understanding Accurso

Dec.,111125, 29. The second possibility is that the class turns on the mere appearance of free

form text of some kind within the SHAW system.6 If` the fonner, Plaintiff cannot represent
portions of the class or subclass because the Cell Phone was never coded with a “w” notation

in CARS and Plaintiff was never called after an “x” notation was inserted in CARS. Accurso

 

5 Hayes v. WaI-Mart Srores, Inc., 725 F.3d 349, 360 (3d Cir. 2013) (“It is axiomatic that the lead plaintiff must
fit the class definition”); Johnson v. Am. Crea'it Co. of Ga., 581 F.2d 526, 532 (SIh Cir. 1978) (“A fimdamental
requirement is that the representative plaintiff must be a member of the class...”).

6 Notably, Plaintiff does not define what text qualifies as a “wrong number” or “do not call” report, so it is
impossible to know what language may qualify.

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Dec., 1111 25, 33.7 If the latter, however, Plaintiff may have standing to represent individuals
with free form “wrong #” text appearing in SHAW, but would not be able to represent the
portion of the subclass pertaining to free form “do not call” notes since, again, Plaintiff was
not called after the entry of that note. Accurso Dec., 11 33.

Finally, it must not be forgotten that Plaintiff has failed to introduce evidence that he
received a “pre-recorded or artificial voice” call at all. Once more, therefore, he cannot
represent the portion of the class that received only such calls,

IV. CERTIFICATION MUST BE DENIED AS PLAINTIFF HAS FAILED TO MEET
HIS BURDEN OF DEMONSTRATING RULE 23 IS SATISFIED

“The class action is `an exception to the usual rule that litigation is conducted by and
on behalf of the individual named parties only.”’ Wal-Mart Stores Inc. v. Dukes, 131 S. Ct.
2541, 2550 (2011) (quoting Califano v. Yamasaki, 442 U.S. 682, 700-01, 99 S. Ct. 2545
(1979)). “A party seeking class certification must affirmatively demonstrate compliance with
[Federal Rule of Civil Procedure 23][,]” (Id. at 2551) and “[a] district court must conduct a
rigorous analysis of the rule 23 prerequisites before certifying a class.” Vega v. T-Mobile
USA, Inc., 564 F.3d 1256, 1266 (l lth Cir. 2009) (citations and internal quotation marks
omitted). “Although the trial court should not determine the merits of plaintiffs' claim at the
class certification stage, the trial court can and should consider the merits of the case to the

degree necessary to determine whether the requirements of Rule 23 will be satisfied.” Valley

Drug Co. v. Geneva Pharms., Inc., 350 F.3d l 181, 1188 n.15 (l lth Cir. 2003).

 

7 See Toback v. GNC HoIdr'ngs, [nc., No. l3-80526-C1V, 2013 WL 5206103, at *4 (S.D. Fla. Sept. 13, 20]3)
(standing of a named plaintiff must be establishcd on a claim-by-claim basis within the Eleventh Circuit) (citing
Prado-Sreiman v. Bush, 221 F.3d 1266, 1279-80 (l lth Cir. 2000).

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“For a district court to certify a class action, the named plaintiffs must have standing,
and the putative class must meet each of the requirements specified in [Rule 23(a)], as well
as at least one of the requirements set forth in Rule 23(b).” Vega, 564 F.3d at 1265. In
addition, “[a] plaintiff seeking certification of a claim for class treatment must propose an
adequately defined class that satisfies the requirements of Rule 23.” Abby v. Paige, 282
F.R.D. 576, 578 (S.D. Fla. 2012) (citing Kelecseny v. Chevron, USA., lnc., 262 F.R.D. 660,
667 (S.D. Fla. 2009)). “The burden of proof to establish the propriety of class certification
rests with the advocate of the class.” Valley Drug Co., 350 F.3d at l 187.

A. Plaintiff’s Failure to Demonstrate a Theory of Generalized Proof to Address
Class Member Consent Dooms His Class

TCPA cases are not certifiable unless Plaintiff can demonstrate that consent to the
calls at issue is subject to common proof for all class members. Gene and Gene LLC, 541
F.3d at 328 (“[D]istrict courts must only certify class actions filed under the TCPA when
such a theory has been advanced.”). Indeed, where a Plaintiff fails to demonstrate common
proof on the issue of consent the case is per se uncertifiable. Id. at 329 (failing to “advance
any viable theory employing generalized proof concerning the lack of consent” leads to the
conclusion that “myriad mini-trials cannot be avoided; and that, given these conclusions and
those we have reached above, the district court abused its discretion in certifying the class”).

Following Gene and Gene, TCPA certification decisions generally fall into two
categories Those where the class member’s phone numbers stem from a single source (e.g.,
a telemarketing lead list) and those where the class member’s phone numbers are provided

from multiple sources and under different circumstances suggesting that class members are

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not in the same positions vis~a-vis consent The former category of cases may be certified.8
The latter category of cases, however, may not be. See, e.g., Davz's, 2017 U.S. Dist. LEXIS
46611, at *13-16; Stein v. Monte)'ey Fin. Se)vs., No. 2:13-cv-01336-AKK, 2017 U.S. Dist.
LEXIS 12707, at *16 (N.D. Ala. Jan. 31, 2017); Ung v. Unive)'sal Acceptance Co)'p., No. 15-
127 (RHK/FLN), 2017 U.S. Dist. LEXIS 10078, at *8 (D. Minn. Jan. 24, 2017); Espejo v.
Santander Consume)' USA, Inc., No. ll C 8987, 2016 U.S. Dist. LEXIS 142259, at *30 (N.D.
lll. Oct. 14, 2016) (assessing meritorious claims “would invariably lead to individualized
factual disputes regarding whether consent was [] previously obtained...[because Plaintiff]
cannot prevent Santander from asserting consent even in the face of records that do not
reflect' consent); Newlrart v. Quicken Loans Inc., No; 9:15-CV-81250, 2016 U.S. Dist.
LEXIS 168721, at * 14 (S.D. Fla. Oct. 12, 2016) (“[T]his Court thus joins the chorus of other
courts faced with TCPA class actions that have found such individualized inquiries on the
consent issue would predominate over any common issues.”); Selby, 2016 U.S. Dist. LEXIS
83940, at *34-35 ("an individual review of loan documents and other files related to the
underlying debt obligation" would be required to determine whether "each individual gave
express consent"); Shamblin, 2015 U.S. Dist. LEXIS 54849, at *17-18; Blair v. CBE Grp.,

Inc., 309 F.R.D. 621, 630 (S.D. Cal. 2015) (“[D]etermining whether a particular class

 

8 E.g. Madrigal v. C-Two Group, Inc., et. aI, 2015 WL 8477487, at *7-8 (N.D. Cal. 2015) (club lead list);
Targin Sign .S:vs.. lnc. v. Prejerred Chiropractic Ctr., Ltd., 679 F.Supp.2d 894 (N.D. lll. 2010) (“Nor is there a
whisper about those targets, or any of them, being people who, or institutions that, had consented to [the
defendant'$] faxing lhem"); G.M. Sign, [nc. v. Fim'sh nrompson, lnc., No. 07 C 5953, 2009 WL 2581324 (N.D.
l|l. 2009) (“[F]axes were sent to anonymous third-party fax lists procured by [the defendant's agent] which [the
defendant] did not review.”); Hinman v. M & M Renral Ctr., lnc., 545 F.Supp.2d 802, 807 (N.D. Ill. 2008)
(question of consent was “common” where the defendant transmitted faxes to numbers on a “leads” list it had
purchased fi'om a third party); Kavu, lnc. v. O)nnipak Co)p., 246 F.R.D. 642, 645 (W.D. Wash. 2007) (fax list
purchased from third-party vendor that falsely believed it had consent due to misreading of the law).

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member provided his or her wireless phone number to an underlying creditor requires an
individualized inquiry into the particular circumstances in which the debt arose, and such
individualized inquiries predominate over any issue common to the class); Connelly v. Hz'lton
G')'and Vacatio)ts Co., LLC, 294 F.R.D. 574, 578 (S.D. Cal. 2013) (“It is likely that each
individual received a different amount of information regarding how his cell phone number
would be used and ...[t]his diversity suggests that the issue of consent should be evaluated
individually, rather than on a class wide basis.”); Balthazor v. Cent. Credit Servs., No. 10-
62435-CIV, 2012 U.S. Dist. LEXIS 182275, at *10 (S.D. Fla. Dec. 27, 2012) (Judge Cohn
denied a TCPA class action, finding the issue of consent to be too individualized); Vigus v. S.
Ill. Riverboat/Casino Crur'ses, Inc., 274 F.R.D. 229, 237 (S.D. Ill. 2011) (TCPA class action
simply “unmanageable” given issues of individual consent); Hicks v. Client Servs., No. 07-

61822-crv, 2008 U.s. Dist. LExrs 101129, ar *20 (s.D. Fla. Dec. 10, 2008) (“[u]ltimatery

consent is an issue that would have to be determined on an individual basis at trial.”).9

The Certi~lication Motion ignores all of this authority and pretends as if TCPA cases
are tailor made for certification See Certification Motion, pp. 5-6. But that is a half-truth at
best. While single-source TCPA cases are often certified, class actions in the debt collection
context_where the numbers come from numerous consumers under different

circumstances_are rarely, if ever, certifiable. The district court in Selby explained why:

 

9 Onc district court has formulated a different rule that looks to whether the D¢fendam has introduced evidence
that class members consented to calls, See Jamison v. Fr`rsr Credr`t Servr'ces, Inc., 290 F.R.D. 92, 106 (N.D. lll.
2013). This formulation misses the difference between multi-source and single-source cases, lt also improperly
puts an evidentiary burden on Defendant when the Eleventh Circuit has held that Plaintiff has the burden of
demonstrating every element of Rule 23. Valley Dmg Co., 350 F.3d at 1187. Nonetheless, Ally has introduced
sufficient evidence demonstrating why the Certification Motion must be denied applying any standard.

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[I]n an action arising out of debt collection phone calls, common evidence

d[oes] not exist where “an individual review of loan documents and other files

related to the underlying debt obligation" would be required to determine

whether “each individual gave ‘express consent’[.]” (Citations Omitted.)

In contrast, where the defendant obtained the class members’ cell phone or fax

numbers from a single source or from the class members under very similar

circumstances, the issue of consent can potentially be resolved on a classwide

basis. (Citations Omitted)

Similarly, in Ma)mo v. Healthcare Revenue Recovery Group, LLC, 289 F.R.D.

674, 688 (S.D. Fla. 2013), all of the class members "went through the same or

similar admissions processes, during which they provided their phone

numbers." Therefore, although the defendant argued the class members
consented "ipso facto" under the TCPA by providing their cell phone numbers

during the admissions processes, this issue'was suitable for resolution on a

classwide basis and did not present individualized issues that would defeat the

predominance requirement (Citations omitted.)
Selby, 2016 U.S. Dist. LEXIS 83940, at *12-14.

Even more recently, the Stein court denied certification in another multi-source debt
collection case finding: “[t]his court would have to examine consent_a defense Monterey
intends to raise against every class member_on a person-by-person basis...” Stein, 2017
U.S. Dist. LEXIS 12707, at *16. The Stein court found that these issues would exist even if
the Defendant engaged in common conduct: “[e]ven if Monterey callers asked each debtor
the same question, whether a debtor perceived his or her answer to that question as providing
consent to receive subsequent calls is an individualized inquiry that would require the court
to ascertain each debtor's interpretation, or understanding, of that question.” Id. at *15.

At bottom, TCPA cases_such as this one_involving “a series of` individual
transmissions under individual circumstances, each of which is an alleged violation of the

statute” are simply not certifiable. See Forman v. Data Transfer, Inc., 164 F.R.D. 400, 402

(E.D. Pa. 1995); Gene and Geue, LLC, 541 F. 3d. at 327 (citing Fo)'man with approval).

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l. Plaintiff Has Failed to Demonstrate Even Basic Commonality Among His
Class Members

The 23(a)(2) commonality prong requires that class member claims depend upon a
common contention that is “of such a nature that it is capable of classwide resolution-which
means that determination of its truth or falsity will resolve an issue that is central to the
validity of each one of the claims in one stroke.” Wal-Mart Stores. Inc. v. Dukes, 564 U.S.
338, 350, (2011). Rule 23(a)(2) sets a lower standard than Rule 23(b)(3). Amchem Prods.,
Inc. v. Windsor, 521 U.S. 591, 623-24 (1997) (recognizing that “the predominance criterion
is far more demanding” than commonality). But a Plaintiff does not meet even the low bar of
Rule 23(a)(2) where he complains about numerous discrete incidents rather than of a
common practice. See, e.g., McCamis v. Servr`s One, Inc., No. 8:16-CV-1130-T-30AEP,
2017 U.S. Dist. LEXIS 20522, at *10-11 (M.D. Fla. Feb. 14, 2017).

Plaintiff attempts to avoid individualized issues on consent by referencing Ally’s

account records and policies. See Certifrcation Motion, p. 13 (listing Plaintist asserted

“common contentions”).10 Ally’s policies, however, demonstrate an effort to comply with
the TCPA and not evade it. See Accurso Dec., 1|‘|] 7-24. As such Plaintiff must fall back on
his vague reference to numbers “noted” by Ally as “Wrong Number” or “Do Not Call” in the
hopes of certifying a class of anomalies. But there is nothing common between individuals
whose numbers bear such notes (whatever notes Plaintiff may mean). Something specific

and unique had to occur with respect to each phone number before each such note was

 

10 Plaintiff appears to have (rightly) withdrawn his allegation in the Complaint that “Whether Ally’s actions
violated the TCP ” is a common question. See Compl., 1] 46. He omits that assertion in his Motion. See
Certif'lcation Motion, p. 13.

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placed. That is, the class member had to say or do something that lead to the note being
placed and, crucially, it is what the class member said or did that matters for liability
purposes; not the presence of the note itself. The presence of the note alone, therefore,
resolves nothing “in one stroke.” Carriuolo v. GM Co., 823 F.3d 977, 984 (1 lth Cir. 2016).
Matters are worse with respect to the subclass. Before a further call can be attempted
to a number noted with an “x” or “w” code in CARS, the class member would have had to
say or do something more. This is so because Ally’s technology categorically prohibits calls
to numbers bearing such “notes.” Id., 1111 20, 23; Heiner Dec., 1111 5-6, 9. Hence only if a
customer re-conveys consent to Ally to in some manner can calls continue. Hall Dec., 11 9;
McClure Dec., 11 9. Once again, however, Plaintiff has failed to demonstrate that class
members all said or did the same thing to cause further calls, As a factual matter, the variety
respecting such re-consents is endless. See.. e.g., Johnson Dec., 11 10. So there is even less
common to individuals in the subclass from a liability perspective than in the primary class.
Plaintiff also implies that a number is “noted” as a “Do Not Call” or “Wrong
Number” merely because a text string note bearing certain words exist in related SI-LAW
notes. But this is his worst argument of al|. Stated plainly, the free form phrases “do not
call” or “wrong number” are not very meaningful on the issue of consent to call a cellphone.
Accurso Dec., 111| 26-28; 30-35; Johnson Dec., 1|1] 3, 5-10; Hall Dec., 1]1| 3-5; McClure Dec.,
1|1| 3-5; Sponsler Report, 1111 ll(j); 12. As a factual matter these notes can be entered under a
wide variety of circumstances having nothing to do with the validity of the underlying phone
number. See.. e.g., Accurso Dec., 1111 26-27; 30, 32-33; Johnson Dec.,1|1| 5-10; Hall Dec., 11 4;

McClure Dec., 11 4; Sponsler Report, 11 l l(j). So the circumstances of one class member will

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look nothing like the circumstances of another.

And there’s an even more fundamental problem here_there is no commonality
between the “Do Not Call” portion of the class and the “Wrong Number” portion of the class.
These are two wholly different sets of people whose claims arise under different
circumstances and that are subject to wholly different legal issues. See Buonomo v. Optimum
Outcomes, Inc., 301 F.R.D. 292, 297 (N.D. Ill. 2014) (“[T]he central inquiry in a ‘wrong
party' case is who provided consent, whereas the central inquiry in an actual debtor case is
whether the plaintiff provided consent to receive calls on his or her cell phone.”). The class,
therefore, is at war with itself with respect to the evidence needed to prove liability. Putative
Class Counsel’s effort to combine these two unrelated factions_likely as a subterfuge to

allow Mr. Tillman to represent the “do not call” portion of the class_is yet a further

complete bar to the certification of` the classes he proposes.l l

B. Plaintiff Has Failed to Demonstrate Predominance of Common Issues Regarding
Consent

Rule 23(b)(3) definitively prevents certification of cases seeking money damages
where, as here, common issues do not predominate over individualized issues. Fed. R. Civ.

P. 23(b)(3); Amchem Prods.. Inc, 521 U.S. at 615. To determine whether common questions

 

n Plaintiff s remaining arguments on commonality are virtual throwaways. First, he states that whether or not
Ally “willfully” violated the TCPA respecting each class member is a “common issue.” Cenif~ication Motion,
p. 13. As shown above, however, the circumstances surrounding each call to each class member tums on the
specific circumstances under which each relevant note was created and, where necessary, subsequently removed
to authorize further dialing. Nothing respecting Ally’s intent can be presumed from these discrete circumstances
on a classwide basis. 'l`hat leaves the equipment used to “place" ealls. But part of the class involves calls
“placed” using “the same dialing system(s) it used to call Plaintiff." Another portion involves the use of an
“artificial or prerecorded voice.” Certification Motion, p. 4. Plainly, however, the evidence needed to prove the
use of an A'I'DS is entirely different from the evidence needed to prove the use of a pre-recorded voice message.
Once again, therefore, there is no common issue unifying the class that resolves an issue of liability “in one
stroke.” Carriuolo, 823 F.3d at 984.

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predominate, the Court is “called upon to examine the cause[] of action asserted in the
complaint on behalf of the putative class. (citation omitted).” Rutstein v. Avis Rent-A-Car
Sys., 21 l F.3d 1228, 1234 (l lth Cir. 2000). “Whether an issue predominates can only be
determined after considering what value the resolution of the class-wide issue will have in
each class member’s underlying cause of action.” Id. (citing Amchem Prods., Inc., 521 U.S.
at 623 (“[The predominance] inquiry trains on the legal or factual questions that qualify each
class member’s case as a genuine controversy.”)).

1. The “Do Not Call” Component of the Class Masks Numerous Individualized
Inquiries Regarding Consent

In TCPA cases, “the issue of consent will entirely determine how the proposed class-
action trial will be conducted on the merits.” Gene and Gene LLC , 541 F.3d at 327. Thus, a
discussion of the substantive law of consent is necessary to assess certification Castano v.
American Tobacco Co., 84 F.3d 734, 744 (Sth Cir.1996) (“Going beyond the pleadings is
necessary, as a court must understand the claims, defenses, relevant facts, and applicable
substantive law in order to make a meaningful determination of the certification issues.”).

As laid out above, Ally’s robust TCPA policies assure that it does not call customers
without initial consent. Consent for TCPA purposes exists anytime a customer provides a
number directly to an informational caller. Maz's v. Gqu Coast Collection Bureau, Inc., 768
F.3d 1110, 1118, 1123-26 (llth Cir. 2014) (Courts are bound to follow FCC ruling that
“express consent” exists whenever consumer provides phone number to caller). Debt
collection calls are informational calls. See In Re Rules and Regulations Implementi)zg the .
Telephone Consumer Protection Act of 1991, 27 FCC Rcd. 1830, 1838, 1| 20 (2012) ("calls

solely for the purpose of debt collection ...do not constitute telemarketing[.]”). As such Ally

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may call any customer at any number he or she has provided in connection with an account.
See, e,g., S!cm[fer v. Navient Sols., LLC, No. l:l$-CV-1542, 2017 U.S. Dist. LEXIS 35256,
at * 15 (M.D. Pa. Mar. 13, 2017) (“[A] debtor consents to debt-related calls from her creditor

when she ‘knowingly releases’ her wireless number thereto.”). And even though written
express consent is not required, Ally’s consent disclosures are enforceable12 affording A||y

both suspenders and a belt.13 Finally, once obtained, consent does not expire. See Dolemba
v. Kelly Servs., No. 16 C 4971, 2017 U.S. Dist. LEXIS 13508, at *5 (N.D. Ill. Jan. 31, 2017)
(consent provided nine years earlier “d[id] not expire at some point in time on its own”).

Faced with these realities, Plaintiff complains that Ally calls numbers after noting

them as “Do Not Call” in its own records.14 Plaintiff has introduced no evidence to the
effect that Ally does so as a matter of common practice. Indeed, he steadfastly avoided
introducing any evidence of Ally’s “do not call” policies at all. The reason is obvious_Ally
works hard to respect customer consent preferences and will stop calling customers
immediately upon demand. Accurso Dec., 1111 7-17; 22-24.

But proving a revocation of consent is an extremely fact-specific issue and pointing to

snippets from free form notes containing the words “do not call” would never suffice.

 

12 See Staujiizr, 2017 U.S. Dist. LEXIS 35256, at *1-2, 15-16 (binding plaintiff to the consent language in her
promissory note).

13 Notably, consent provided to an Ally agent allows calls to be made on its behalf by a third-party collector or
vendor. Harringlon v. RoundPoinl Morlg. Servicing Corp., No. 2:15-cv-322-FtM-38MRM, 2017 U.S. Dist.
LEX|S 55023, at *12 (M.D. Fla. Apr. 10, 2017) (“[A] third-party debt collector can lawfully make autodialed or
pre-recorded calls regarding a debt incurred ‘to a wireless number that the consumer had provided to the
creditor, which the creditor had then passed along to the debt collector.”’).

14 Plaintiff’s primary “Do Not Call” class does not require that a number be called after the “Do Not Call”
notation, just that the customer received “at least two phone calls." But receiving multiple calls yields nothing
on the issue of whether or not Ally had consent to place the calls. So the vast majority of “Do Not Call” class
members would lack a valid claim-they did not receive a call after the date of revocation.

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Consent can only be effectively revoked by way of a “clear expression” that messages should
stop. See In the Matter of Rules and Regulations Implementing the Telephone Consume)'
Protection Act of 1991, 30 FCC Rcd. 7961, 8001, 1| 63 (2015) (“2015 FCC Order"). Courts
have taken a narrow view of revocation, refusing to infer revocation from conduct. Van
Patten v. Ver!ical Fitness Grp., LLC, 847 F.3d 1037, 1048 (9th Cir. 2017) (cancelling gym
membership did not “clearly express [plaintiff’s] desire not to receive further text
messages”); In re Rzmyan, 530 B.R. 801, 807 (M.D. Fla. 2015) (“express and clear
revocation of consent [for TCPA purposes is required]; implicit revocation will not do.”).
And revoking consent is extremely context specific and turns on the facts of a given
situation. See, e.g., Soulliere v. CFI Resorts Management, Inc., No. 8:13-cv-286O (M.D. Fla.
2015), corrected judgment dated May 28, 2015, Doc. 99 (jury finding that phrase “please
don’t call my cell phone” did not effectuate a valid revocation in that case); ln re Runyan,
530 B.R. at 807 (consumer telling caller that “it could contact his attorney with any further
questions” was not express revocation); Buchholz v. Valarity, LLC, No. 4:13CV0362 TIA,
2015 WL 590381, at *2 (E.D. Mo. Feb. 11, 2015) (question of fact whether phrase “stop
calling me” was sufficient to revoke consent since the caller did not identify himself on the
call); see also Ha)‘rington v. Roundpoint Mortg. Servicing Corp., No. 2:15-cv-322-Ftl‘vl-
38MRM, 2017 U.S. Dist. LEXIS 55023, at *28-29 (M.D. Fla. Apr. 10, 2017) (the “existence
and scope” of a third party’s actual or apparent authority for conveying or revoking consent
on behalf of the subscriber “is properly left for the trier of fact”).

Given the highly factual nature of the revocation inquiry, it is no surprise that a

“revoeation” class of the kind Plaintiff seeks to certify here has never been certified before.

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Indeed, these sorts of classes rarely get past the pleadings stage, See Cholly, 2017 U.S. Dist.
LEXIS 14449, at *11 (striking revocation class because “individual inquiries necessary to
determine class membership will ‘inevitably predominate’ over any common questions of
fact” ; Woljkiel v. Intersections Ins. Servs. Inc., 303 F.R.D. 287, 293 (N.D. Ill. 2014) (striking
“revoeation class” allegations because “in order to determine whether each potential class
member did in fact revoke his or her prior consent at the pertinent time, the Court would have
to conduct class-member-specific inquiries for each individual”).

Plaintiff’s “Do Not Call” class fairs no better than Ms. Cholly’s or Mr. Woltkiel’s.
Given the large variety of circumstances under which an agent may enter a note containing
the phrase “do not call” (see, e.g., Hall Dec., 1| 4; Johnson Dec., 1|1| 8-9) there is no basis to
infer a note containing such a phrase pertains to a request that calls cease to begin with.
Even if it did, however, to assess liability the Court must determine what the class member
actually said that lead to the “do not call” report. Was it an express and clear request not to
be called any further on that number? Was it unconditional? Why did the number then

receive further calls? Did the customer ever subsequently re-consent by providing his phone

number or asking for further calls?15 Literally none of those questions will have a common

answer as between even two class members. An ava|anche of mini-trials is therefore
inevitable. See, e.g., Warnick v. Dish Network LLC, 304 F.R.D. 303, 306 (D. Colo. 2014)

(rejecting class of “anomalies” identified through data review as creating more individualized

 

15 Previously revoked consent may be re-conveyed by the customer re-supplying the number to Ally. See
Lawrence v. Bayview Loan Servicing, LLC, 666 F. App'x 875, 880-81 (l lth Cir. 2016) (unpublishcd),' Reyes v.
Educ. Credr`l Mgmr. Co)p., No. 3:15-cv-00628-BAS-JMA, 2016 U.S. Dist. LEXIS 66821, at *11 (S.D. Cal.
May 19, 2016).

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inquiries).
Given the wide variety of circumstances under which notes containing the phrase “do
not call” might be entered, the steep showing required to make out an effective revocation,

and the prevalence of class member’s “re-consenting” after revocation occurs, trial on the

“Do Not Call” subclass is sure to devolve into a series of mini-trials.16 This, of course, is
why TCPA cases are never certified in the absence of generalized proof of consent. See
Gene & Gene LLC, 541 F.3d at 326-29; Espejo, 2016 U.S. Dist. LEXIS 142259, at *30.

2. The “Wrong Number” Component of the Class Masks Numerous
Individualized Inquiries Regarding Consent

Detennining whether Ally made any “true" wrong number calls to class members
requires myriad inquiries. In the first place it is insufficient to merely compare Ally’s call
lists to subscriber information available from wireless carriers via subpoena_Ally can rely
on the consent of its customer so long as the customer regularly uses the phone, See 2015
FCC Order, 11 75 (consent to call a cell phone can be provided by subscriber or the regular
user). Determining whether or not a customer was authorized to use the phone, however, is
plainly an individualized inquiry that would need to be determined on a class member by
class member basis to assess whether Ally had the necessary consent to place each call.

Plaintiff attempts to sidestep this hurdle by relying on Ally’s free form notes but, as
shown above, they are not very informative. The words “wrong number” commonly have
nothing to do with a phone number at all. Accurso Dec., 1111 26-28; Johnson Dec.,1|1| 3, 5-7,

10; Hall Dec., 1| 4; McClure Dec., 1| 4; Sponsler Report, 1|1| ll(j). Even when they do,

 

16 Ally has a “constitutional right to a jury determination as to whether any person consented to receiving calls
to their cellular telephone.” Shamblin, 2015 WL 1909765, at *7 (citing Rinlr, 203 F.R.D. at 652).

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however, the chances are high that the number remained valid due to a false report by a
customer or errant third party. Accurso Dec., 111| 26-28; 30-35; Johnson Dec., 11 3; Hall Dec.,
1111 3, 8; McClure Dec., 1111 3, 8; Sponsler Report, 11 12. This occurrence becomes more
common as the period of delinquency increases. Johnson Dec., 11 3. Indeed, as Plaintiff’s
own evidence demonstrates, Ally’s agents actually ask “probing questions” of a call recipient
reporting a “wrong number” to determine whether, for instance, “[t]he number is correct but
the customer is not available at the number” or “[t]he person knows the customer and says
the customer can be reached at the number.” Certification Motion, Exhibit 1. If, therefore, a
“wrong number” notation exists in SHAW without a “w” code in CARS the only
presumption to be drawn is that the agent determined that the number was actually valid.
Johnson Dec., 11 5; Accurso Dec., 1|1| 18-21. To prove otherwise would require an
individualized showing that the agent failed to act in accordance with Ally’s policies.

But even the more reliable presence of a “w” in CARS does not assure that a wrong
number was actually called. Ally’s agents must insert a “w” anytime they cannot
affz`)vnatively determine the validity of a number following a “wrong number” report. Hence,
a large number of “w” notes will have resulted from false reports from debtors or third-
parties. See, e.g., Hall Dec., 1111 3, 6, 8; Johnson Dec., 11 3. Even if the number was coded
“w,” therefore, Ally would have the right to introduce its own evidence to the contrary-
including the cross-examination of each customer it was trying to reach_in order to
determine whether Ally had really reached a called party without consent. See Shamblin,
2015 WL 1909765, at *7 (noting constitutional right to submit evidence on the issue of

consent). Further, even in those instances where a wrong number was dialed, an individual

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review would still be needed to determine whether Ally’s call was its first attempt to reach
the customer after a number had changed hands. See 2015 FCC Order, at 8000-01(affording
wrong number callers a one call safe harbor for calls made with a customer’s consent).
Plaintiff cites to Abdeljalil v. GE Capital Corp., 306 F.R.D. 303 (S.D. Cal. 2015) to
support his request for certification Abdeh`alil is an anomalous case-the only one of its
kind in the country and, frankly, the definition certified in that ease suffers from numerous
flaws. But Abdeh'alil is easily distinguished because it did not deal with a situation where, as
here, a plaintiffs evidence demonstrates that the words “wrong number” will ofien be found
in notes pertaining to valid phone numbers. Abdeljalil, 306 F.R.D. at 306. Instead, the class

certified in that case included only individuals who “were not customers of Defendant at the

time of the calls” and who did not previously give “express consent.” lbid. 17

The recent decision in Davis v. AT&T Corp., No. 15cv2342-DMS (DHB), 2017 U.S.
Dist. LEXIS 46611 (S.D. Cal. Mar. 28, 2017) is better reasoned and right on point. There, as
here, Plaintiff attempted to certify a class of individuals based upon wrong number reports in
a defendant’s notes. Davis, 2017 U.S. Dist. LEXIS 4661 l, at *6. Plaintiff argued “a notation
in Defendant’s records to the effect of ‘wrong number’ is sufficient to establish on a class-
wide basis without individualized inquiry that Defendant made a call to a number it did not
have consent to call.” Id. The Court rejected this theory, finding that “wrong number”
notations “would not absolutely resolve” the issue of consent. Id. For one, the parties

“would still have to go through the ‘wrong number’ notations to determine whether those call

 

17 Membership in such a class would plainly be unascertainable under the Eleventh Circuit standard, which
requires a class definition to be defined based upon “objective criteria” Haight v. Bluestem Brands, Inc., No.
6:13-cv-l400~0rl-28KRS, 2015 U.S. Dist. LEXlS 107010, at *7 (M.D. Fla. May 14, 2015),

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recipients were, in fact, customers of Defendant at or before the time of the calls.” Id.
Indeed, as the Court recognized, “a ‘wrong number’ provides nothing because many
customers tell callers they have reached the wrong number, though the customer’s number
was dialed, as a ‘procrastination tool’ to avoid speaking on the phone.” Id. “Likewise, if
Defendant’s customer provided a number belonging to another person such as a spouse or
other family member, an inquiry into that customer’s authority to provide consent to call that
number would be required.” Id. In sum, the Court held that a “complete analysis” of each
“call recipient’s individual circumstances” would be required. Id. at *16.

As shown above, all of the concerns underlying the Davis court’s rejection of
Plaintiff`s certification theory exist here as well. Davis is not distinguishable and this Court
should follow its persuasive reasoning.

3. Individualized Inquiries Unrelated to Consent Also Abound

Consent issues are merely the tip of the predominance iceberg. Fully 25% of the
accounts Ally owns contain arbitration clauses including class action waivers. Declaration of
George Adamson, 1111 3-4; Hampton Dec., 1111 6-9 (noting many of Ally’s approved forms
contain arbitration clauses and attaching Florida forms as examples); Accurso Dec., Ex. A
(even the RISC on the Everett account contains an arbitration clause); Goldsmith Dec., Exs.
B, C, D, and E (examples of Ally’s successful enforcement of arbitration clauses).
Identifying whether or not each class member is subject to a binding arbitration agreement,
therefore, raises an impassable hurdle to certification See Avilez v. Pinkerton Gov't Servs.,
596 F. App'x 579, 579 (9th Cir. 2015) (unpublished) (“The district court abused its discretion

to the extent it certified classes and subclasses that include employees who signed class

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action waivers.”); Hill v. T-Mobile USA. Inc., No. 2:09-CV-1827-VEH, 2011 U.S. Dist.
LEXIS 157669, at *34 (N.D. Ala. May 16, 2011) (“Plaintiffs [] have not addressed how to
effectively back out from [the class] those persons who would potentially be ineligible due to
the operation of valid class action waivers and/or agreements to arbitrate (and no subsequent
efforts made to opt out), absent undergoing an individualized inquiry[.]"); see also Lozano v.
AT & T Wireless Se)'vs., Inc., 504 F.3d 718, 728 (9th Cir. 2007) (affirming denial of
certification because defendant's "intent to seek arbitration of the class would necessitate a
state-by-state review of contract conscionability j urisprudence").

Similarly, Plaintiff cannot represent class members at trial that lack Artiele III
standing to pursue their claims. “Article III does not give federal courts the power to order
relief to any uninjured plaintiff, class action or not.” Tyson Foods. Inc. v. Bouaphakeo, 136
S. Ct. 1036, 1053(2016) (Roberts, J, Alito, S, concurring). “[I]f there is no way to ensure

that the jury’s damages award goes only to injured class members, that award cannot stand.”
1418 Yer after the supreme courts decision in spoken me v. Rebms, 136 S. Ct. 1540
(2016), innumerable, unascertainable, members of the class lack any harm because they did
not actually receive the call at issue.19 Such individuals could not possibly possess Artiele

III standing See Ally’s Motion for Summary Judgment, Doc. 73, pp. 11-20. Since the class

definitions contain numerous individuals that cannot recover damages the class is facially

 

18 There is a messy split of authority as to whether a class may contain absent members lacking standing at
time of certification but all circuits agree that such class members cannot ultimately recover damages. E.g., ln
re Nexium Ann'rrust Lirig., 777 F.3d 9, 31-32 (lst Cir. 2015) (noting that “only injured class members will
recover” damages, although certified class included some members that were not harmed).

19 See Doc. 58, p. 10 (“Any arguments concerning whether plaintiff and consumers were harmed by calls they
did not receive or notice is more appropriately addressed at the class certification stage.").

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overly broad and cannot be certified on that basis alone. C.C. & P.C. v. Sch. Bd. ofBroward
Cty., No. 10-60032-CIV, 2014 U.S. Dist. LEXIS 134530, at *24-25 (S.D. Fla. Sep. 23, 2014)
(“[w]hen the proposed class includes many members without claims, the court may deny
certification”), citing Walewski v. Zenimax Media. Inc., 502 F. App'x 857, 861 (l lth Cir.
2012). Moreover, Plaintiff offers no plan for weeding out class members that did not
actually “receive” the calls Ally “placed.” But at trial Plaintiff would be required to show
that each call at issue caused harm to an identifiable class member in order to recover
damages related to that call. Once again, therefore, an avalanche of mini-trials awaits.
Finally, it appears that Plaintiff`s class may include both users and subscribers to the
same phone, That means that multiple people may be competing to recover for a single
phone call. That raises myriad additional inquiries to determine who is in the better position
to recover the statutory damages at issue and underscores the radically different circtunstance
between subscribers and users of such phones in terms of proving their case. Haight, 2015

U.S. Dist. LEXIS 107010, at *7 (addressing a lack of common issues between phone “users”

and phone “subscribers” seeking to recover for calls).20

C. Class Members Cannot Be identified in an Administratively Feasible Manner
“Before a district court may grant a motion for class certification a plaintiff seeking

to represent a proposed class must establish that the proposed class is ‘adequately defined

and clearly ascertainable.”’ Little v. T-Mobile USA. Inc., 691 F.3d 1302, 1304 (llth Cir.

2012) (quoting DeBremaecker v. Short, 433 F.2d 733, 734 (5th Cir.l970)). In the Eleventh

 

20 That raises the issue of whether Plaintiff`s girlfriend’s father_the owner of the Cell Phone-might be a
necessary party to this case with standing to sue and recover for the very same calls Plaintiff is seeking to
recover for here.

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Circuit, ascertainability involves two separate requirements: i) the class definition must be
“identifiable” in that it cannot be excessively vague (Bush v. Calloway Consol. Grp. River
Cizy, Inc., No. 3:10~cv-841-J-37MCR, 2012 U.S. Dist. LEXIS 40450, at * 12 (M.D. Fla. Mar.
26, 2012) [class definition cannot be “amorphous or imprecise”]); and ii) there must be an
“administratively feasible” way to identify class members with valid claims. Ka)'hu v. l/ital
Pharms., Inc., 621 F. App'x 945, 947-48 (llth Cir. 2015) ("[A] class is not ascertainable
unless the class definition contains objective criteria that allow for class members to be
identified in an administratively feasible way") (unpublished); see also McCamis v. Se)~vis
One, Inc., 2017 U.S. Dist. LEXIS 20522, at *6 (“The Eleventh Circuit instructs that ‘a class

is not ascertainable unless the class definition contains objective criteria that allow for class

members to be identified in an administratively feasible way."’).21

Indeed, so stringent are the Eleventh Circuit’s rules surrounding ascertainability that a
Plaintiff seeking to certify a case must affirmatively submit a trial plan that specifically
addresses issues of ascertainability and manageability. See Vega v. T-Mobile USA, Inc., 564
F.3d 1256, 1279, fn. 20 (1 lth Cir. 2009); see also Kelecseny, 262 F.R.D. at 677 (S.D. Fla.
2009) (denying certification in part because plaintiffs “trial plan does not promote judicial
efficiency, nor is it superior to other methods of adjudicating potential claims against
Defendants”); James D. Hinson Elec. Conrracting Co. v. BellSouth Teleconmmnications, [nc.
642 F. Supp. 2d 1318, 1328 (M.D. Fla. 2009) (Courts in this Circuit “expect plaintiff[s] to

submit a trial plan with [a] motion to certify a class”).

 

21 While Circuits differ on the ascertainability standard, the Eleventh Circuit “applie[s] a fairly strong version
of an ascertainability requirement." Mullins v. Direct Digr'tal, LLC, 795 F.3d 654 (7th Cir. 2015).

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As already demonstrated, the newly proposed class is indecipherably vague. On that
basis alone the Certification Motion should be denied. But a larger problem looms as well_

Plaintiff has presented no clear explanation as to how he intends to identify class members,

much less the formal trial plan he was required re provide.ZZ speeineany, Plaintiff has net
explained how identifying class members is a “manageable process” that does “not require
much, if any, individualized inquiry.” See, e.g., Bussey v. Macon Cty. Greyhound Park, Inc.,
562 F. App’X 782, 787 (l lth Cir. 2014) (internal quotations and citation omitted); Grimes v.
Rave Motion Pictu)'es Bimzingkam, L.L.C., 264 F.R.D. 659, 663-664 (N.D. Ala. 2010)
(“...the named plaintiff must define the proposed class in a manner that adequately identifies
its members. Who, exactly, are they, and how can they be located?”).

Cobbling together Plaintiff’s plan for him, it appears that he intends to ascertain class

member identities by sending a list of phone numbers gleaned from Ally’s records to wireless

carriers via subpoena This plan might identify subscribers to phone lines,23 but it certainly
Would not identify individuals_such as Plaintiff-that were merely using the phone at issue
on the date each call was “placed.” Sponsler Report., 1111 7-12. So Plaintiff has offered no

method of identifying and notifying class members, See Haight, 2015 U.S. Dist. LEXIS

 

22 Ally specifically served discovery demands requesting Plaintiff’s trial plan and the need for a trial plan was
laid out for Plaintiff in Ally’s motion to compel. See Doc. 87, pp. 4-8. Yet no trial plan has been submitted.

23 As set forth in the expert report of Ken Sponsler, even identifying the subscribers to the cell phone number at
the time the calls were placed is no simple matter and raises numerous unmanageable individual inquiries. See
Sponsler Report, 1]‘[| 7-12. Moreover, several Courts have recognized the systemic flaws in attempting to
identify class members through carrier records. See, e.g., Smith v. Mierosoji Co)p., 297 F.R.D. 464, 473 (S.D.
Cal. 2014) (“Moreover, in light of the record retention policies of some of the major cellular service providers,
it is likely that even subpoenaing the cellular service providers will not yield the necessary identification and
contact information [going back five years].”); Balschrm'ter v. TD Aulo Fin. LLC, 303 F.R.D. 508, 525 (E.D.
Wis. 2014) (fmding subpoenas unlikely to be helpful in identifying putative class members). Nonetheless, Ally
remains willing to stipulate away the issue as previously offered, but not so long as Plaintiff continues to
demand burdensome class discovery to overcome it. Plaintiff does not get to have it both ways.

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107010, at *11.24 Plaintiff tries to hide this reality in the vague language of his class
definition-which rides the fence and does not commit to either a “subscriber” or “user”
approach _but that just makes the unascertainability of his class all the more patent.
Further, there will never be a list of phone numbers to send to the carriers anyway. It
is impossible to identify the cell phone numbers associated with free form SHAW notes
absent a file by file search. Heiner Dec., 11 10. Similarly, there is no way to identify numbers
that were previoust marked as “x” or “w” in CARS but that subsequently regained dialer
eligibility absent a file by file search. Id., 11 9. Even if Plaintiff’s proposed ascertainability
method were feasible, therefore, a list of class member numbers could not be generated in an
administratively feasible way. E.g. Christie v. Bank of Am., N.A., No. 8:13-CV-1371-T-
23'I`GW, 2016 WL 654818, at *8 (M.D. Fla. Jan. 7, 2016) (“The plaintiffs cannot merely
point to BANA’s computer system for their argument that the putative class is easily

ascertainable.”). These additional defects also preclude certification

D. Plaintiff Has Failed to Meet his Burden of Demonstrating the Remaining Rule 23
Factors Have Been Satlsl` ed As Well

l. Plaintiff Has Failed to Demonstrate Numerosity With Respect to His New
Class Claims

The Certification Motion states: “[i]n this case, Ally concedes numerosity.”
Certification Motion, p. 8. That is not true. Ally ojered to stipulate that over 100 instances

of specific notes exist in its records, but Plaintiff did not accept that stipulation See Doc

 

24 Plaintiff tries to leap the ascertainability hurdle by suggesting that Ally has made a series of stipulations on
the matter, Ally never entered into any stipulations; it only offered stipulations if Plaintiff agreed to withdraw
his pending demands seeking class discovery or as an agreed upon condition in the event the Court issued a
protective order Ally requested See Doc 104-1, '|]‘[| 10-18; Doc. 104-6; Doc. 113-4, ‘[j'[| 3, 5. Yet Plaintiff is
trying to have his cake and eat it too. On the one hand he wants to make use of the proposed stipulations, but on
the other hand he still asks the Court to compel further discovery. See Doc. 107 (Plaintist Motion to Compel).

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104~1, 111| 10-18; Doc. 104-6; Doc. 113-4, 1111 3, 5. Those notes do not correlate to Plaintiff’s

new class definitions anyway. As such Plaintiff has offered nothing demonstrating his class

is sufficiently numerous to certify.25

2. Plaintiff is Not a Typical Class Member

“A class representative must possess the same interest and suffer the same injury as
the class members in order to be typical under Rule 23(a)(3). Typicality measures whether a
sufficient nexus exists between the claims of the named representatives and those of the class
at large.” Bu.sby, 513 F.3d at 1322.

As shown above, Plaintiff’s class improperly blends two very discrete populations_
owners/users of numbers noted as a “wrong number” and owners/users of numbers noted as a
“do not call”_ into a single class. Given the differences between these pools of class
members there can be no “typical” member to begin with. But Plaintiff does not even try to
tie his own circumstances back to the class definition anyway. For instance, Plaintiff does
not demonstrate that the “wrong #” notation on the underlying customer account is used as
part of Ally’s policies. It is not. Johnson Dec., 1| 5; Accurso Dec., 1| 26. Instead, the only
evidence he supplies is Exhibit 1, which does not address “notations” of any kind. Rather,
the policy Plaintiff supplies speaks of the need for Ally’s agents to stop calls to “invalid”
numbers using a “w” status code in SHAW. There is a clear disconneet, therefore, between
Plaintiff’s situation and the members of the class he seeks to represent

Further, Plaintiff is not a typical member of the “wrong number” class because he

 

25 Ally remains willing to stipulate on the issue of numerosity if Plaintiff agrees to withdraw his pending class
discovery demands or if the Court issues the protective order Ally requested See Doc. 104, p. 20 (“Ally will
stipulate to it if that resolves the data issues.").

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allegedly received a call that is outside of Ally’s course of doing things. He suffered an
alleged injury that typical members of the class would not have suffered_the typical class
member was not injured at all. Simply put, his case arose from a one-off mistake. But
Plaintist class is not defined based upon individuals that suffered from a similar sort of
mistake. Rather it is vaguely and broadly defined to include phone numbers that were
properly identified as a “Wrong Number” in Ally’s records and were never called again

As such, Plaintiff’s case law addressing typicality is entirely unsuited to the situation
present here. ln each of those cases, “the course of conduct that produced [Plaintist] TCPA
claim also produced the claims of the proposed class.” A Aventura Ctr., Inc. v. Med Waste Mgmt.
LLC, 2013 U.S. Dist. LEXIS 97879, *10 (S.D. Fla. 2013). But here the opposite is true. Ally’s
course of conduct prevents the sort of injury Plaintiff suffered here. So the “typical" class
member experience would have been wholly different from Plaintiffs.

Similarly, Plaintiff is not a typical member of the “Do Not Call” portion of the
primary class. The “do not call” reference in the Everett SHAW notes pertains to action
taken by Ally’s agent in notating the account after receiving notice that Plaintiff filed this
lawsuit. Accurso Dec., 11 33. Plaintiff does not demonstrate that this was the “typical”
experience of class members. Nor did Plaintiff receive any calls following a “do not call”

notation regarding the Cell Phone. Id. Both as a matter of standing and typicality, therefore,

Plaintiff cannot represent the portion of the class that did receive such calls.26

 

26 See Wooden v. Bd. of Regents of Univ. Sys. of Ga., 247 F.3d 1262, 1288 (l lth Cir.200l) (“[.l]ust as a plaintiff
cannot pursue an individual claim unless hc proves standing, a plaintiff cannot represent a class unless he has
standing to raise the claims of the class he seeks to represent” ;Prado-Sreiman ex rel. Prado v. Bush, 221 F.3d
1266, 1280 (llth Cir. 2000) (“It is not enough that a named plaintiff can establish a case or controversy

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Finally, as Ally argued in its Motion to Deny Class Certification, there are several and
significant defenses unique to Plaintiff's case. See Doc. 74-15-16 (noting, for example, the
issue of Plaintist standing, his shared use of the phone, his use of the Block-It application,
and his memory problems). As with adequacy, these unique defenses also preclude a finding
of typicality. See, e.g., Nghiem v. Dick's Spo)'ting Goods, Inc., 318 F.R.D. 375, 383, fn. 4
(C.D. Cal. 2016) (finding plaintiff was not typical in a TCPA case where “the major focus of
this litigation will be on these issues and defenses unique to Nghiem, not on the claims of the
class. .. Defendants will assert these defenses, and they have a factual basis for doing so”).

3. Plaintiff and His Counsel Are Detinitively lnadequate to Represent the Class

Ally has already filed a motion to deny certification on this ground. See Doc. 89. It
will not repeat arguments here. It only supplements its prior showing as follows:

Plaintiff, both directly and through his counsel, has been consistently dishonest in this
litigation First, Plaintiff submitted false interrogatory responses_verified under oath-
stating that he was the owner of the Cell Phone. See Doc. 73-5. That is not true. See
Doc.73-2, at 16117-18; 1721-7; 24219-22. Neither Plaintiff nor his counsel have ever
supplemented or amended that response.

Next, at deposition, Mr. Tillman could not get his facts straight about how he had
found his lawyer. First, he stated that he had found Mr. Howard through a family member.
Later, Mr. Tillman testified that he had found Mr. Howard on Google. See Doc. 74- 2; 11:3-

25; 1221-25; 13:1-13; 125:14-25; 132:19-25; 133:1-25. Although Mr. Howard was present at

 

between himself and the defendant by virtue of having standing as to one of many claims he wishes to assert.
Rather, each claim must be analyzed separately, and a claim cannot be asserted on behalf of a class unless at
least one named plaintiff has suffered the injury that gives rise to that claim.”).

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the deposition-and was surely aware of the true facts surrounding the strange backstory on
the retention_he did not have his client correct his testimony. Indeed, Plaintiff's counsel
would later double down on Mr. Tillman’s inaccurate testimony in Plaintiff’s response to
Ally’s Motion to Deny Class Certification_pointing out Mr. Tillman’s false testimony at his
deposition that Plaintiff had looked him up on Google. See Doc. 85, p. 17.

Then, in an effort to obtain discovery that Plaintiff is surely not entitled to, his
counsel began using a fabricated chart as though it were pulled from Ally’s records. See
Doc. 118, p. 3; Doc. lll, p. 2; Doc. 107, p. 3; Doc. 106 at p. 2; Doc. 85, p. 3; Doc. 47, p. 8.
The chart inaccurately reflected the “do not call” notation has having been entered on April
20, 2016. Id. Mr. Biggerstaff_Plaintiff’s retained yet undisclosed expert-also submitted a

false declaration supporting this date. Doc. 47-2, p. 8. The true facts are that the entry

appears in Ally’s records on April 29, 2016, not April 20 2016. Accurso Dec.,1| 32.27

Why the big fuss over the date? Because the last call to the Cell Phone took place on
April 21, 2016. Id., 1| 33. The “typo” in Plaintiff’s manufactured chart back-dated the “do
not call” report to one day prior to that last call. This allowed Plaintiff to argue that calls to
Plaintiff had “continued” after the “do not call” notation had been entered. That fact
would_if it were true_ afford Plaintiff standing to represent a class of persons that received
calls afier a “do not call” notation appeared on their account. But this fact is not true.
Indeed, Plaintiff filed a corrected Certification Motion clearing up his “typo,” yet Plaintiff

still brazenly seeks to represent the “do not call” class in the Certification Motion. Nor is this

 

27 Plaintiff later claimed that the false charts and declaration resulted from a typo that was innocently
reproduced in successive documents See Doc. 123, p. 2.

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the first lime that this putative Class Connscl has misrepresented factual matters to get a leg
up in TCPA litigation .S`L’e Ung t»'. Unr`t-'r”r‘srtl Acceptance Crn'p._, No, 15-127 (RHK_-’FLN),
2017 U.S. Dist. LEXIS 53720, at *ll 11.3 (D. Minn. Apr. 6, 2017) (noting that plaintiff
represented by Kcogh l-aw, l_td., repeatedly `“distorts the record"` and mischaracterizes
del`endant`s responses to discovery).

Next, putative Class Counsel resisted the production ot`tlteir Retainer Agreclnent with

Plainlif`f`. See Doc. 87, pp. 2-3, 16~19; Doc. 87-1, ‘|] ll. When it was finally produced

however, it was revealed that the agreemen_
__ ga use 1115 ruled under eat

This provision is problematic for a number’ of reasons _
_ -23 -
- 29 _

 

28 Plaintiff is working tctrtpor;uy johs. lives with his motht:r. has three young children holds an 8th grade
education1 does not have n credit card1 and sometimes uses his gll'lfricnd`s credit Card to buy food See
Goldsmith Dec., li.\'. l". léxcer'pls from l’|ainlili":~‘ l)cpositlon. at pp. 21:2-7;_ 35:2-13: 36:17-24;_ ~'1-1:1(1-12; 59:19-
211: 61]:1-5,

29 11 is no \\'ondt:r. therefore, that Plaintiff testified he does not care what happens in this case See Doc. 74-2.
at 199:16-211 20{1121~25: 2(`}1:1.

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But things are even worse here

__ 5a mata tate sr i»mreaiona conduct

4-].5 (prohibiting agreements for or collection of""a lee generated by employment that was
obtained through advertising or Solicitation not in compliance with the Rules Regulating The
Florida Bar"). Counsel’s dispute of these Facts put them into a clear conflict ot` interest
situation with their own client and ultimately the class.
E. Class 'l`reatment is not the Supcrior Way to Rcsolve Class Member Claims

Rttle 23(b)(3) requires that “a class action is superior to other available methods for
fairly and efficiently adjudicating the controversy." In considering this l`actor, a court should
assess, among other things, L“the likely difficulties in managing a class action.” Fed. R. Civ.
P. 23(b)(3](D). ""Principally, the lack ot` predominance belies any suggestion that a t`air

administration oi` the class claims could ‘save[] the resources o|` both the courtl] and the

3?

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parties.’ (citation omitted).” Sac)'ed Heart Health Sys. v. Humaua Milita)y Healthcare
Se)vs., 601 F.3d 1159, 1184 (l lth Cir. 2010). Here, because Plaintiff fails to satisfy the
predominance requirement, the Court should also find that a class action would not be
superior. See Shamblin, 2015 WL 1909765, at *15.

Beyond the lack of predominance, class treatment is not superior because individual
class members have more than a sufficient incentive to bring solo actions. Espejo, 2016 U.S.
Dist. LEXIS 142259, at *38-39. T he Supreme Court counsels that

[w]hile the text of Rule 23(b)(3) does not exclude from certification cases in

which individual damages run high, the Advisory Committee had dominantly

in mind vindication of the rights of groups of people who individually would

be without effective strength to bring their opponents into court at all. . . . The

policy at the very core of the class action mechanism is to overcome the

problem that small recoveries do not provide the incentive for any individual

to bring a solo action prosecuting his or her rights. A class action solves this

problem by aggregating the relatively paltry potential recoveries into

something worth someone's (usually an attomey's) labor.
Amchem Prods.. Inc., 521 U.S. at 617.

With statutory damages of 3500 per violation and up to $l,500 for knowing and
willful violations, the TCPA “has built-in incentives for aggrieved plaintiffs to litigate
individually[.]” Espejo, 2016 U.S. Dist. LEXIS 142259, at *39; see also Sml'th v. Microsoft
Corp., 297 F.R.D. 464, 469 (S.D. Cal. 2014) (“[The TCPA’s] ‘statutory remedy is designed
to provide adequate incentive for an individual plaintiff to bring suit on his own behalf.’”

(quoting Fomzan v. Data ?i'a)zsj%)~, Inc., 164 F.R.D. 400, 404 (E.D. Pa. 1995)).

In Plaintiff`s case, for example, he alleges that Ally violated the TCPA for each of the

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22 calls at issue and seeks statutory damages for each violation. See Compl., 11 ll.;"’0

Plaintiff`s potential individual recovery is therefore between 311,000 (22 x $500) and

533,000 (22 x 3§1,500).31 This is hardly the “paltry potential recovery” the Supreme Court
and the Advisory Committee had in mind for class treatment. Indeed, these statutory

remedies have been more than sufficient to incentivize plaintiffs to bring individual TCPA

claims in huge numbers.;"2 The class action mechanism is therefore unnecessary and inferior
to other means to adjudicate claims. See Vigus v. S. Ill. Riverboat/Casino Cruises, Inc., 274
F.R.D. 229, 238 (S.D. Ill. 2011) (putative TCPA class members “have a quick, adequate and
superior remedy in other more speedy venues such as, for example, a small claims court”).
This is especially true given the personal nature of the privacy interests the TCPA is designed
to protect; the impact of phone calls invading “privacy” will be felt uniquely by each putative
class member, emphasizing the appropriateness of individual determinations of damage.

ln addressing superiority, Coutts also weigh the proportionality of the defendant’s
potential liability to the putative class against the harm allegedly suffered by each class
member. See London v. Wal-Mart Stores, Inc., 340 F.3d 1246, 1255, n.5 (1 lth Cir. 2003). ln
the context of a TCPA case involving millions of customers, this is an extremely serious
concem. Leysoto v. Mama Mia I, Inc., 255 F.R.D. 693, 696-99 (S. D. Fla. 2009) (“To grant

the requested relief would allow this Plaintiff, and his counsel to dangle the Sword of

 

30 ln his Response to Ally’s Motion for Summary Judgment, Plaintiff claimed for the first time that up to 45
alleged violations of the TCPA are potentially at issue. See Doc. 86, p. 4. Plaintiff also seeks actual damages in
his Complaint, but he offers no plan for how he would address actual damages for each class member.

31 At 45 alleged violations, Plaintiff s potential recovery is between $22,500 and $67,500.

32 According to statistics available on https://webrecon.com/2016-vear-in-revicw-fdcpa-down-fcra-tcna-up/
there were 4,860 TCPA filings in 2016.

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Damocles over Defendant, without any showing of economic harm...the threat of annihilation
associated with certification does not serve the purpose of the legislation, and moreover is
simply unnecessary to effectively enforce the Act”); see also Vasquez-Torres v. McGrath ’s
Publick Fish House, Inc., 2007 U.S. Dist. LEXIS 97233, at *20 (C.D. Cal. Oct. 12, 2007)
(denying class certification because otherwise defendant “would face ‘bet the company’ type
stakes for a technical violation of a statute which caused no injury”).

V. FURTHER DISCOVERY WOULD CHANGE NOTHING

Plaintiff has moved to compel large amounts of customer data from Ally claiming
that he needs this material to certify his class. See Doc. 107, pp. 7-8. This is telling.

Plaintiff’s claim of “need” for Ally’s customer records is tied to his desire to conduct
a file by file review of Ally’s records to find needles in the haystack_individuals called
contrary to Ally’s TCPA compliance policies. Plaintiff is right that he needs customer
records to prove individual class member claims, but he is wrong that he is entitled to that
information before certification is denied.

Plaintist burden at certification is to prove that class member claims can be
determined without the predominance of individualized inquiries; not that the necessary
individualized inquiries might be theoretically possible to undertake See Fed. R. Civ. P.
23(b)(3). Plaintiff wants Ally’s records so he can find individuals with valid TCPA claims,
but what he has needed from the start-and has always lacked_is a classwide basis to
demonstrate consent without such an individualized review.

As shown above, there is no way to get there. A file by file review will always be

necessary to assess class member claims. So the Certification Motion must be denied.

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REQUEST FOR ORAL ARGUMENT PURSUANT TO LOCAL RULE 3.011]')

Pursuant to Local Rule 3.01(j), Ally requests oral argument regarding PlaintifPs
Corrected Motion for Class Certification. Ally estimates the time required for argument will
not exceed one hour.

Respectfully submitted this 2lst day of April, 2017.

/s/ Eric' J. Troutman
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